   Case 8:17-cv-00118-AG-DFM Document 555 Filed 03/14/19 Page 1 of 1 Page ID #:23499

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES – GENERAL

   Case No. SA CV 17-00118-AG (DFM)                                     Date: March 14, 2019
    Title   In re Banc of California Securities Litigation



     Present: The Honorable         Douglas F. McCormick, United States Magistrate Judge

                      Nancy Boehme                                         Not Present
                       Deputy Clerk                                      Court Reporter
                Attorney(s) for Plaintiff(s):                      Attorney(s) for Defendant(s):
                       Not Present                                         Not Present

   Proceedings:       (IN CHAMBERS) Order re Outstanding Issues


      The Court is in receipt of several discovery-related ex parte applications, motions, and
sealing requests. These filings are now under submission. See L.R. 7-15. The Court will rule on
them after the moratorium issued by the District Judge expires on September 2, 2019.

      In the meantime, the parties should meet-and-confer to try and work through the
outstanding issues. Closer to September, the Court will schedule a telephonic case management
conference to discuss how to efficiently and effectively dispose of whatever remains unresolved.




CV-90 (12/02)                                   CIVIL MINUTES-GENERAL           Initials of Deputy Clerk: nb
                                                                                             Page 1 of 1
